Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 2:19-CV-14394-ROSENBERG

GEORGE FRIEDEL &
KATHLEEN FRIEDEL,

Plaintiffs,
VS.
SUN COMMUNITIES, INC.,

Defendant.
/

 

DEFENDANTS’ AMENDED MOTION FOR ATTORNEYS’ FEES AND COSTS

Defendants, Sun Communities, Inc. (“Sun Communities”) and Park Place Community,
L.L.C. (“Park Place”), by and through the undersigned counsel, hereby file this Amended and
Renewed Motion for Attorneys’ Fees and Costs, and in support thereof state:

1. Plaintiffs filed a four (4) count complaint against Sun Communities and Park
Place alleging violations of 42 U.S.C. §3604, (Counts I and ID), as well as 42 U.S.C. §3617
(Count III), and Tortious Interference/Breach of Contract (Count IV).

2, Pursuant to 42 U.S.C. §3613, a private party can enforce the provisions of the Fair
Housing Act (42 U.S.C. 3601 ef. seq.) through a civil action. The prevailing party in a civil
action brought pursuant to the Fair Housing Act is entitled to a reasonable attorneys’ fee and
costs. 42 U.S.C. §3613(c)(2) (2019).

3. In any proceeding between private parties to enforce provisions of Chapter 723 of
the Florida Statutes (the Florida Mobile Home Act), the prevailing party is entitled to a

reasonable attorneys’ fee. §723.068 Fla.Stat. (2019).

 
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 2 of 12

4, The lease agreement between Plaintiffs and Park Place states that “Tilf the Tenant
fails to voluntarily vacate the premises after termination, Landlord may bring an action for
possession in the appropriate court and Tenant agrees to pay all costs, expenses and reasonable
attorneys fees which shall be incurred or expended by Landlord.” [Doc. 27, Exh. E, Page 5].

5. On May 19, 2020, this Court entered an Order Granting Defendants’ Motion to
Dismiss, which dismissed all four of Plaintiffs’ counts with prejudice.

6. “When a defendant is the prevailing party on a civil rights claim, the Court has
held, district courts may award attorney’s fees if the plaintiffs ‘claim was frivolous,
unreasonable, or groundless,’ or if ‘the plaintiff continued to litigate after it clearly became so.”
CRST Van Expedited, Inc. v. E.E.0.C., 136 S.Ct. 1642, 1646 (2016) citing Christiansburg
Garment Co. v. E.E.0.C., 434 U.S, 412, 422 (1978).

7. Acase is considered “frivolous” where it is “so lacking in arguable merit as to be
groundless or without foundation.” Boler v. Space Gateway Support Co. LLC, 290 F.Supp.2d
1272, 1279 (M.D. Fla. 2003) citing Sullivan v. School Bd. Of Pinellas County, 773 F.2d 1182,
1188 (11" Cir. 1985).

8. “Typical ‘frivolity’ cases include those where summary judgment is decided in
favor of the defendant or on a Fed.R.Civ.P. 41(b) motion for involuntary dismissal where the
plaintiffs do not introduce any evidence in support of their claims.” Boler 290 F.Supp.2d at
1279-80.

9. A fee award for the defendant is also proper where the plaintiff brings the
litigation in subjective bad faith. Christiansburg, 434 U.S. at 419.

10. In determining whether to award attorneys fees to the defendant in civil rights

actions, a court “must examine (1) whether the plaintiff established a prima facie case, (2)

Page 2 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 3 of 12

whether the defendant offered to settle, and (3) whether the trial court dismissed the case prior to
trial or held a full-blown trial on the merits.” Turner v. Sungard Business Systems, Inc., 91 F.3d
1418, 1422 (11 Cir 1996) citing Sullivan v. School Bd. Of Pinellas County, 773 F.2d 1182,
1189 (11 Cir. 1985).

11.  Inits Order Granting in Part and Denying in part Defendant’s Motion to Dismiss
[Doe. 25], this Court expressly and openly discussed the fact that the Plaintiffs in this case were
seeking the very same relief under the same set of circumstances previously litigated in Friedel

Friedel IT concerns the same dog, the same Plaintiffs, the same eviction, and it is

filed by the same counsel. Yet, Plaintiffs’ Amended Complaint does not cite

Friedel I in any way. Plaintiffs make no mention of the jury trial or the jury

verdict in Friedel I. Nor do Plaintiffs reference the jury finding that their dog was

a dangerous animal. Instead, Plaintiffs make virtually identical allegations (again

contending a wrongful eviction) against a new Defendant - Sun Communities.

12. Notwithstanding the language in this Court’s Order, Plaintiffs continued down the
same road and filed a Second Amended Complaint against Park Place and Sun Communities.
Both Defendants filed a Motion to Dismiss Plaintiffs’ Second Amended Complaint [Doc. 30].

13. This Court entered an order granting Defendants’ Motion to Dismiss on all four
counts with prejudice. In doing so, this Court concluded that “Plaintiffs cannot plausibly allege
a claim for Park Place’s denial of a request for disability accommodation.” (Emphasis Added)

14. This Court further stated that:

Plaintiffs have provided no plausible, factual allegations to overcome this very

likely, very plausible explanation for Plaintiffs’ eviction. Stated succinctly,

Plaintiffs waited too long. Plaintiffs waited too long to give Maggie additional

behavioral training, and Plaintiffs waited too long to seek leave to amend to add

the issue of additional training to the Friedel J litigation. Because Plaintiffs’

allegations are implausible, Plaintiffs’ Count I and Count II are dismissed.

Because further amendment on this issue would be futile and because Plaintiffs

have already had the opportunity to amend, the Court’s dismissal is with
prejudice. Hall v. United Ins. Co., 367 F.3d 1255, 1262 (11th Cir. 2004).

Page 3 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 4 of 12

15. An analysis of the Sullivan factors cited above reveals that 2 of the three factors
are met without question. Namely, the Plaintiffs were unable to remotely establish a prima facie
case, and the trial court dismissed the matter without any need for a trial, evidentiary hearing, or
even a hearing based on summary judgment evidence. Plaintiffs’ claims were so wholly without
merit that all four were dismissed with prejudice at the motion to dismiss stage after only one
opportunity to amend.

16. A review of the procedural history of this case, including a specific review of
opposing counsel’s personal opinions interjected throughout various court filings, confirms that
Plaintiffs’ continued litigation of this matter meets the standard of frivolity.

17. This Court may take judicial notice of the prior action, Friedel I. Horne v. Potter,
892 F. App’x 800, 802 (11"" Cir. 2010).

18. In Friedel I, the Plaintiff, George Friedel, attempted to introduce evidence of
training conducted well after the institution of his Fair Housing Act litigation. This evidence was
properly excluded pursuant to this Court’s Order on Defendant’s Motion in Limine. [Friedel I,
Doc. 68]. In response, George Friedel’s counsel sent a revised demand for reasonable
accommodation, which included documentation regarding nine training sessions. When no
response was provided, George Friedel’s counsel filed a Motion to Amend Complaint in an
effort to include the training materials that had been disallowed by this Court’s holding on the
Motion in Limine. [Friedel I, Doc. 75].

19. When Plaintiff was denied the opportunity to amend his complaint at the 11" hour

in Friedel I, Plaintiff filed a Motion for New Trial. [Friedel J, Doc. 109]. The Motion for New

Trial was denied. [Friedel I, Doc. 113].

Page 4 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 5 of 12

20. After having lost on the Motion in Limine, having lost on the Motion to Amend,
having lost at trial, and having lost on the Motion for New Trial, Plaintiff proceeded to appeal
the matter to the Eleventh Circuit Court of Appeals. As anticipated, Plaintiff lost on appeal.

91. Plaintiff then waited more than two years, after Maggie had died, to reanimate
this litigation. But Plaintiff did not re-file against Park Place. Instead, Plaintiff elected to file
only against Sun Communities, and in both the name of George Friedel and Kathleen Friedel. It
is anticipated that this was done in order to avoid a res judicata claim, as the parties were now
different.

22. In Plaintiffs’ Response to Sun Communities’ initial Motion to Dismiss, the
opinions of Plaintiffs’ counsel were made all too clear. Plaintiffs’ counsel states that the jury in

Friedel I was

deliberately kept ignorant regarding the professional training received by Plaintiff
George Friedel’s emotional assistance animal (“ESA”), a [sic] elderly Golden
Retriever named “Maggie,” and misled regarding the diligence of both Plaintiffs
in addressing Maggie’s reactivity to aggressive small dogs, nonetheless found for
the Plaintiff George Friedel on four out of five questions comprising the Verdict

Form. [Doc. 31, Pg. 1-2, fn 2].

23. Plaintiffs’ counsel again stated her opinion that the exclusion of subsequent
training from the initial trial was an error.

Moreover, in pointing to Friedel 1, Defendants omit the fact that the jury was kept

deliberately ignorant as to the professional training received and successfully

completed by Maggie, as well as deliberately misled as to both the Plaintiffs’

diligence in addressing Maggie’s reactivity to aggressive dogs, and most
importantly, the successful elimination of such reactivity. [Doc. 31, Pg. 13].

24. Plaintiffs’ counsel also routinely brandished the specter of punitive damages and
attorneys’ fees against Defendants as often as possible throughout Friedel I and Friedel II.
Plaintiffs demand “compensatory and punitive damages, and their attorney’s fees and costs” in

all four counts of Plaintiffs’ Second Amended Complaint. [Doc. 27].

Page 5 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 6 of 12

25, Plaintiffs’ discovery included excessive and burdensome requests for as much
financial information as possible. Defendants’ counsel suspects this was done to make the
discovery process as burdensome as possible in order to extricate a settlement out of Defendants.
Examples of discovery requests that were excessive and burdensome include: Interrogatory #8:
“fijdentify all employees and independent contractors which you paid wages, salary, or fees for
services in the last five (5) years who live(d) in Florida” and Request to Produce No. 6 “[alll
documents which show, confirm, evidence, or reflect payments to those persons and contractors
identified in response to Interrogatory No. 8.”

26. Plaintiffs’ Motion to Compel seems to be more of a demand for payment from
Sun Communities or Park Place. In Plaintiffs’ Motion to Compel it is alleged that Plaintiffs’
counsel is seeking “17 hours of legal researching and crafting of the [5 page Motion to
Compel].” [Doc. 39, Pg. 2].

27. Plaintiffs aggressively pursued their broad requests for documents and e-
discovery designed to inflict a financial burden, despite Plaintiffs’ counsel admitting to
Defendants’ counsel on May 1, 2020, that “I doubt either side will learn much in discovery it did
not already know.”

28. Park Place litigated the case against Defendant George Friedel in 2017 and 2018,
which included an appeal to the Eleventh Circuit Court of Appeals. While Park Place prevailed
in that case, it could not be said that the filing of Friedel J was frivolous or without merit.

29. However, the filing of Friedel IJ, a case involving the same parties, the same dog,
and the same eviction demand, more than two years after the conclusion of Friedel I was an

obvious and calculated effort to litigate the amended complaint from Friedel J.

Page 6 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 7 of 12

30. Because the Second Amended Complaint was so lacking in arguable merit, this
Court should determine that the filing of this lawsuit by Plaintiffs was frivolous, and award
attorneys’ fees and costs to Defendants.

31. Defendants were required to retain ATLAS LAW, PLLC, to defend and litigate
this claim. Pursuant to its fee agreement with Atlas Law, Defendants are required to pay a fixed
rate of $200.00 per hour for the legal services performed in this matter. The timekeepers for
Atlas Law are attorneys Brian C. Chase and Ryan J. Vatalaro. Brian C. Chase is the managing
partner of Atlas Law with fifteen (15) years of experience. Mr. Chase has unique and relevant
experience in the areas of landlord/tenant law, mobile home community law, fair housing act
compliance, assistance animal accommodation requests, and federal jury-trial experience. Mr.
Chase reasonably expended 53 hours in this matter at an hourly rate of $200.00. Ryan J. Vatalaro
is an associate attorney at Atlas Law with four (4) years of experience. Mr. Vatalaro has unique
and relevant experience in the areas of landlord/tenant law, mobile home community law, fair
housing act compliance, and assistance animal accommodation requests. Mr. Vatalaro
reasonably expended 86.6 hours in this matter at an hourly rate of $200.00. The total attorneys
fees expended by Atlas Law defending this matter are $28,746.10. A description of the tasks
done by each time keeper and Atlas Law’s invoices are attached hereto as Exhibit “A.”

32. Defendants were required to retain JAFFE RAITT HEUER & WEISS, P.C.
(“Jaffe”) as corporate counsel for Defendants’ Michigan headquarters to assist in defending this
claim, advising corporate officers, and managing discovery. Pursuant to its fee agreement with
Jaffe, Defendants are required to pay various hourly rates depending on the attorney providing

service. The timekeepers for Jaffe are attorney James Parks ($475.00/hour rate), David Adler

Page 7 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 8 of 12

($360.00/hour rate), Julie Norton ($230.00/hour rate), Benjamin Low ($205.00/hour rate), and
Jody Anderson ($200.00/hour rate).

33. Mr. Parks is an equity partner with Jaffe. He has practiced commercial litigation,
employment law, traditional labor for over 39 years. His practice is national in scope. He was
trial counsel with Brian Chase of Atlas Law in the first jury trial in this matter, in this court. He
has worked closely with Atlas Law to defend the current litigation. He was intimately involved
with all strategies, defenses, affirmative defenses, and legal analysis. He reviewed and amended
pleadings and briefs. He was instrumental in preparing discovery for Defendant and gathering,
coding, and reviewing a plethora of documents demanded by Plaintiff. He headed up and worked
closely with the Jaffe team to gather and review the mountain of documents demanded by
Plaintiff in discovery.

34. David Adler is a partner with Jaffe. He routinely practices in the Litigation &
Dispute Resolution, Appellate, and Insurance practice groups. He specializes in commercial and
general liability matters with a focus on contract disputes and business torts, the defense of injury
and property damage claims, real estate litigation, and insurance coverage. Mr. Adler has
extensive litigation practice experience at both the trial and appellate levels. He assisted in
providing research and analysis of case law, as well as assisting in preparation -of discovery
responses on behalf of the Defendants.

35, Julie A. Norton is a litigation/eDiscovery paralegal with over 25 years of
litigation experience and nearly three years as the lead eDiscovery support paralegal. Ms.
Norton has a B.S. in Criminal Justice from Western Michigan University and a Paralegal
Certificate from the University of California, Los Angeles. Ms. Norton supports attorneys in all

phases of litigation including complex case management, drafting discovery requests and

Page 8 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 9 of 12

responses, database configuration and management, factual investigation and research, e-
discovery, summarizing deposition transcripts and medical records, and preparing for and
attending trials. Ms. Norton was charged with developing search terms and working with our
client to search their email archive for potentially responsive emails and transferring them into a
document review platform (Relativity). She also used her expertise to prepare additional
searches to pare down the data review set using key words and proximity search parameters.

36. Benjamin Low is a 4-year associate with Jaffe and was involve in all aspects of
defending this litigation, and discovery. He performed legal research, assisted to prepare
discovery and to collect and review documents demanded by Plaintiffs.

37. Jody Anderson is a certified paralegal of approximately 25 years, assisting Julie
Norton with logistical support.

38. Jaffe reasonably expended 115.9 hours in this matter at the hourly rates provided
in the time keeping records attached hereto, for a total of $44,034.00 in legal fees. Additionally,
Jaffee experienced $29.70 in costs, which is further documented in the time keeping records
attached hereto. A description of the tasks done by each time keeper and Jaffe’s invoices are
attached hereto as Exhibit “B.”

39, Defendants also seek an award of $2,500.00 for its canine expert witness retained
to rebut the opinion of Plaintiffs’ canine expert witness. The expert schedule is attached hereto as
Exhibit “C.” When a prevailing party seeks reimbursement for fees paid to its expert witnesses,
a federal court is bound by statutory witness fees, absent contract or explicit statutory authority
to the contrary. Crawford Fitting Co. v. J. T. Gibbons, Inc., 482 US. 437, 437 (1987). Under the
lease agreement between the parties, Defendants are entitled to all “costs, expenses and

reasonable attorneys fees” “incurred or expended” “if the Tenant fails to voluntarily vacate the

Page 9 of 12
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 10 of 12

premises after termination[.]” [Doc. 27, Exh. E, Page 5]. The parties’ use of “expenses” as a term
of art indicates the parties’ intent to shift expenses, such as expert expenses, in addition to
statutory taxable costs. C.f, Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 297
(2006).

40. The total amount sought to be recovered is the sum of the invoiced amounts

incurred in defending this matter as evidenced in Exhibits A, B, and C attached hereto and

incorporated herein.

41. Counsel for Defendants certifies that he has conferred with Plaintiffs’ counsel on
the relief requested in this Motion in good faith. The parties did not reach an agreement on
entitlement or amount of fees. Unfortunately, no stipulations were reached.

WHEREFORE, Sun Communities and Park Place respectfully request an order awarding

Defendants attorneys’ fees and costs in the amounts alleged herein and any further and additional

relief that this Court deems just and appropriate.

Page 10 of 12
oe

 
Case 2:19-cv-14394-RLR Document 48 Entered on FLSD Docket 07/16/2020 Page 12 of 12

CERTIFICATE OF SERVICE

—_—
I HEREBY CERTIFY that on the /{y day of _, } we 4 , 2020, I electronically filed

the foregoing with the Clerk of Court by using the CM/ECF system which will send notice of

electronic filing to all counsel of record.

/s/ Brian C. Chase
Brian C. Chase, Esq.
Florida Bar No. 17520

SERVICE LIST
MARCY I. LAHART, ESQ. DENESE VENZA
Marcy I. LaHart, P.A. Venza Law LLC
207 SE Tuscawulla Road 931 Village Boulevard
Micanopy, Florida 32667 West Palm Beach, Florida 33409
VIA CM/ECF VIA CM/ECF

Page 12 of 12
